                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN
                                      MILWAUKEE DIVISION


AMBER JACKSON,
on behalf of herself and
all others similarly situated,                                Case No. 22-cv-1209

                Plaintiff,                                    COLLECTIVE AND CLASS
                                                              ACTION COMPLAINT
                                                              PURSUANT TO 29 U.S.C. §216(b)
        v.                                                    AND FED. R. CIV. P. 23

GUARDIAN CREDIT UNION                                         JURY TRIAL DEMANDED
7801 South Howell Avenue
Oak Creek, Wisconsin 53154

                Defendant


                                          COMPLAINT


                                   PRELIMINARY STATEMENT

        1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Amber Jackson, on behalf of herself and all other similarly situated current

and former hourly-paid, non-exempt employees of Defendant, Guardian Credit Union, for

purposes of obtaining relief under the FLSA and WWPCL for unpaid overtime compensation,

unpaid straight time (regular) and/or agreed upon wages, liquidated damages, costs, attorneys’

fees, declaratory and/or injunctive relief, and/or any such other relief the Court may deem

appropriate.




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       2.      Defendant operated an unlawful compensation system that deprived and failed to

compensate Plaintiff and all other current and former hourly-paid, non-exempt employees for all

hours worked and work performed each workweek, including at an overtime rate of pay for each

hour worked in excess of forty (40) hours in a workweek, by failing to include all forms of non-

discretionary compensation, such as monetary bonuses, incentives, awards, and/or other rewards

and payments, in said employees’ regular rates of pay for overtime calculation purposes, in

violation of the FLSA and WWPCL.

       3.      Defendant’s failure to compensate its hourly paid, non-exempt employees for

compensable work performed each workweek, including but not limited to at an overtime rate of

pay, was intentional, willful, and violated federal law as set forth in the FLSA and state law as set

forth in the WWPCL.

                                  JURISDICTION AND VENUE

       4.      This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       5.      This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et seq.,

and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action within

such original jurisdiction that they form part of the same case or controversy under Article III of

the United States Constitution.

       6.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

Defendant has substantial and systematic contacts in this District.




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                                                 PARTIES

         7.       Plaintiff, Amber Jackson, is an adult female resident of the State of Wisconsin

residing at 9414 West Sheridan Avenue, Milwaukee, Wisconsin 53225.

         8.       Plaintiff’s Notice of Consent to Join this collective action pursuant to 29 U.S.C.

§ 216(b) was contemporaneously filed with the Complaint (ECF No. 1).

         9.       Defendant, Guardian Credit Union, is an entity doing business in the State of

Wisconsin with a principal office address of 7801 South Howell Avenue, Oak Creek, Wisconsin

53154.

         10.      Defendant is a credit union.

         11.      For purposes of the FLSA, Defendant was an “employer” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

         12.      For purposes of the WWPCL, Defendant was an “employer” of Plaintiff, and

Plaintiff was “employed” by Defendant, as those terms, or variations thereof, are used in Wis. Stat.

§§ 109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.

         13.      During the relevant time periods as stated herein, Defendant was engaged in

“commerce” and/or its employees were engaged in “commerce,” as that term is defined under the

FLSA.

         14.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff worked as an hourly-paid, non-exempt employee in the position of

Supervisor at Defendant’s direction, on Defendant’s behalf, for Defendant’s benefit, and/or with

Defendant’s knowledge alongside all other hourly-paid, non-exempt employees at Defendant’s

Milwaukee, Wisconsin location.




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        15.      Plaintiff brings this action on behalf of herself and all other similarly-situated

current and former hourly-paid, non-exempt employees who work at, worked at, and/or were

employed by Defendant within the three (3) year period immediately preceding the filing of this

Complaint (ECF No. 1). Plaintiff performed similar job duties as other current and former hourly-

paid, non-exempt employees in similarly-titled positions who work at, worked at, and/or were

employed by Defendant at locations owned, operated, and managed by Defendant, and Plaintiff

and all other current and former hourly-paid, non-exempt employees were subject to Defendant’s

same unlawful compensation policies and practices as enumerated herein.

        16.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant employed more than two (2) employees.

        17.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant’s annual dollar volume of sales or business exceeded $500,000.

        18.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant hired, terminated, promoted, demoted, and/or suspended Plaintiff and all other

hourly-paid, non-exempt employees.

        19.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant supervised Plaintiff’s and all other hourly-paid, non-exempt employees’ day-

to-day activities.

        20.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant reviewed Plaintiff’s work performance and the work performance of all other

hourly-paid, non-exempt employees.

        21.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant established Plaintiff’s and all other hourly-paid, non-exempt employees’ work




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schedules and provided Plaintiff and all other hourly-paid, non-exempt employees with work

assignments and hours of work.

          22.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Plaintiff and all other hourly-paid, non-exempt employees similarly utilized Defendant’s

employment policies, practices, and/or procedures in the performance of their job duties.

          23.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant oversaw, managed, and adjudicated Plaintiff’s and all other hourly-paid, non-

exempt employees’ employment-related questions, benefits-related questions, and workplace

issues.

          24.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant established the terms and conditions of Plaintiff’s and all other hourly-paid,

non-exempt employees’ employment.

          25.      During the three (3) years immediately preceding the filing of the Complaint (ECF

No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt employees for

hours worked and/or work performed, including with additional forms of compensation, such as

monetary bonuses, incentives, and/or other rewards and payments.

                                    GENERAL ALLEGATIONS

          26.      In approximately July 2021, Defendant hired Plaintiff as an hourly-paid, non-

exempt employee in the position of Member Service Representative working at Defendant’s Oak

Creek, Wisconsin location.

          27.      During the entirety of Plaintiff’s employment with Defendant, Defendant

compensated Plaintiff on an hourly basis and/or with an hourly rate of pay.




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       28.      During the entirety of Plaintiff’s employment with Defendant, Plaintiff was a non-

exempt employee for purposes of the FLSA and WWPCL.

       29.      In approximately March 2022, Plaintiff’s employment with Defendant ended.

       30.      On a daily basis during Plaintiff’s employment with Defendant, Plaintiff worked

alongside other hourly-paid, non-exempt employees at Defendant’s direction, on Defendant’s

behalf, for Defendant’s benefit, and/or with Defendant’s knowledge at Defendant’s Milwaukee,

Wisconsin location.

       31.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Plaintiff and all other hourly-paid, non-exempt employees were employed by Defendant

in hourly-paid, non-exempt job positions and performed compensable work on Defendant’s behalf,

with Defendant’s knowledge, for Defendant’s benefit, and/or at Defendant’s direction at locations

that were owned, operated, and managed by Defendant.

       32.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees regularly worked in excess

of forty (40) hours per workweek.

       33.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant knew or had knowledge that Plaintiff and all other hourly-paid, non-exempt

employees worked in excess of forty (40) hours per workweek.

       34.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendant compensated Plaintiff and all other hourly-paid, non-exempt employees

on a weekly basis via check.




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       35.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendant’s workweek for FLSA and WWPCL purposes was Sunday through

Saturday.

       36.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were non-union

employees of Defendant.

       37.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees were subject to

Defendant’s same pay and timekeeping policies and practices.

       38.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant tracked and/or recorded Plaintiff’s and all other hourly-paid, non-exempt

employees’ hours worked each workweek.

       39.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendant maintained an electronic time-clock system (hereinafter simply

“Defendant’s electronic timekeeping system”) that Plaintiff and all other hourly-paid, non-exempt

employees used on a daily basis for timekeeping and/or recordkeeping purposes.

       40.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Plaintiff and all other hourly-paid, non-exempt employees used Defendant’s

electronic timekeeping system on a daily basis for timekeeping and/or recordkeeping purposes.

       41.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant maintained employment records and other documentation regarding Plaintiff

and all other hourly-paid, non-exempt employees.




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       42.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant maintained a centralized system for tracking and/or recording hours worked by

Plaintiff and all other hourly-paid, non-exempt employees.

       43.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant maintained a centralized system for compensating Plaintiff and all other hourly-

paid, non-exempt employees for all remuneration earned, including but not limited to with

monetary bonuses, incentives, awards, and/or other rewards and payments.

       44.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1) and on a monthly, quarterly, and/or ad hoc basis, Plaintiff and all other hourly-paid, non-

exempt employees earned and were compensated with monetary bonuses, incentives, awards,

and/or other rewards and payments based on their hours worked or work performed during their

employment with Defendant.

       45.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant failed to include all forms of non-discretionary compensation, such as monetary

bonuses, incentives, awards, and/or other rewards and payments, in Plaintiff’s and all current and

former hourly-paid, non-exempt employees’ regular rates of pay for overtime purposes in violation

of the FLSA and WWPCL.

       46.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant’s policies in practice failed to compensate Plaintiff and all other hourly-paid,

non-exempt employees at the correct and lawful overtime rate of pay for all hours worked and

work performed in excess of forty (40) hours in a workweek.

       47.      During the three (3) year period immediately preceding the filing of this Complaint

(ECF No. 1), Defendant knew and/or was aware that its pay policies and practices failed to




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compensate Plaintiff and all other hourly-paid, non-exempt employees at the correct and lawful

overtime rate of pay for all hours worked and work performed in excess of forty (40) hours in a

workweek.

                   COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       48.      Plaintiff brings this action on behalf of herself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

                       All hourly-paid, non-exempt employees employed by
                       Defendant within the three (3) years immediately preceding
                       the filing of this Complaint (ECF No. 1) who received a form
                       of compensation, such as a monetary bonus, incentive,
                       award, and/or other reward and/or payment, during a
                       workweek when said employees worked more than forty
                       (40) hours during the representative time period that the
                       form of compensation covered.

       49.      Plaintiff and the FLSA Collective primarily performed non-exempt job duties each

workweek and, thus, were legally entitled to overtime pay for all hours worked in excess of forty

(40) in a workweek.

       50.      Plaintiff and the FLSA Collective were compensated on an hourly basis (and not

on a salary basis) each workweek and, thus, were legally entitled to overtime pay for all hours

worked in excess of forty (40) in a workweek.

       51.      During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant compensated Plaintiff and the FLSA Collective with, in addition to an hourly

or regular rate(s) of pay, other forms of non-discretionary compensation – such as performance-

based and/or attendance-based monetary bonuses, incentives, awards, and/or other rewards and

payments – on a weekly, bi-weekly, monthly, quarterly, annual, and/or ad hoc basis.




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       52.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), the monetary compensation that Defendant provided to Plaintiff and the FLSA Collective

was non-discretionary in nature: it was made pursuant to a known plan (performance or

productivity) or formula and/or were announced and known to Plaintiff and the FLSA Collective

to encourage and/or reward their steady, rapid, productive, reliable, safe, consistent, regular,

predictable, continued, and/or efficient work performance and/or hours worked.

       53.     During the three (3) years immediately preceding the filing of this Complaint (ECF

No. 1), Defendant’s pay practices failed to include all forms of non-discretionary compensation,

such as monetary bonuses, incentives, awards, and/or other rewards and payments, in Plaintiff’s

and the FLSA Collective’s regular rate(s) of pay for overtime calculation and compensation

purposes during workweeks when said employees worked more than forty (40) hours during the

representative time period. This practice resulted in Plaintiff and the FLSA Collective being denied

overtime compensation by Defendant at the rate of one and one-half times their regular hourly rate

of pay for hours worked in excess of forty (40) in a workweek.

       54.     The First Claim for Relief is brought under and maintained as an opt-in Collective

Action pursuant to § 216(b) of the FLSA, 29 U.S.C. 216(b), by Plaintiff on behalf of the FLSA

Collective.

       55.     The FLSA Collective claims may be pursued by those who affirmatively opt in to

this case, pursuant to 29 U.S.C. § 216(b).

       56.     Plaintiff and the FLSA Collective are and have been similarly situated, have and

have had substantially similar job requirements and pay provisions, and are and have been subject

to Defendant’s decisions, policies, plans and programs, practices, procedures, protocols, routines,

and rules willfully failing and refusing to compensate them for each hour worked including




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overtime compensation. The claims of Plaintiff as stated herein are the same as those of the FLSA

Collective.

       57.     Plaintiff and the FLSA Collective seek relief on a collective basis challenging,

among other FLSA violations, Defendant’s practice of failing to properly and lawfully compensate

employees for all work performed and/or hours worked at the correct and lawful overtime rate of

pay each workweek, in violation of the FLSA.

       58.     Defendant was or should have been aware that its unlawful practices failed to

compensate and deprived Plaintiff and the FLSA Collective of the appropriate and lawful overtime

wages and compensation due and owing to them, in violation of the FLSA.

       59.     The FLSA Collective is readily ascertainable. For purpose of notice and other

purposes related to this action, the names, phone numbers, and addresses are readily available from

Defendant. Notice can be provided to the FLSA Collective via first class mail to the last address

known by Defendant and through posting at Defendant’s facilities in areas where postings are

normally made.

       60.     Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the putative FLSA Collective.




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                      RULE 23 CLASS ALLEGATIONS – WISCONSIN

       61.     Plaintiff brings this action on behalf of herself and all other similarly-situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

                       All current and former hourly-paid, non-exempt employees
                       employed by Defendant in the State of Wisconsin within the
                       two (2) years immediately preceding the filing of this
                       Complaint (ECF No. 1) and through the date of final
                       judgment who received a form of compensation, such as a
                       monetary bonus, incentive, award, and/or other reward
                       and/or payment, during a workweek when said employees
                       worked more than forty (40) hours during the representative
                       time period that the form of compensation covered.

       62.     The members of the Wisconsin Class are readily ascertainable. The number and

identity of the members of the Wisconsin Class are determinable from the records of Defendant.

The job titles, length of employment, and the rates of pay for each member of the Wisconsin Class

are also determinable from Defendant’s records. For purposes of notice and other purposes related

to this action, their names and addresses are readily available from Defendant. Notice can be

provided by means permissible under Fed. R. Civ. P. 23.

       63.     The proposed Wisconsin Class is so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the parties

and the Court. Although the precise number of such persons is unknown, upon information and

belief, there are over fifty (50) members of the Wisconsin Class.

       64.     Plaintiff’s claims are typical of those claims which could be alleged by any

members of the Wisconsin Class, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Class in separate actions. All of the members of the

Wisconsin Class were subject to the same corporate practices of Defendant, as alleged herein.




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Defendant’s corporate-wide policies and practices affected all members of the Wisconsin Class

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

member of the Wisconsin Class. Plaintiff and other members of the Wisconsin Class sustained

similar losses, injuries and damages arising from the same unlawful policies and practices and

procedures.

       65.     Plaintiff is able to fairly and adequately protect the interests of the Wisconsin Class

and has no interests antagonistic to the Wisconsin Class. Plaintiff is represented by counsel who

are experienced and competent in both collective/class action litigation and employment litigation

and have previously represented plaintiffs in wage and hour cases.

       66.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual members

of the Wisconsin Class to redress the wrongs done to them.

       67.     Important public interests will be served by addressing the matter as a class action.

The adjudication of individual litigation claims would result in a great expenditure of Court and

public resources; however, treating the claims as a class action would result in a significant saving

of these costs. The prosecution of separate actions by individual members of the Wisconsin Class




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would create a risk of inconsistent and/or varying adjudications with respect to the individual

members of the Wisconsin Class, establishing incompatible standards of conduct for Defendant

and resulting in the impairment of class members’ rights and the disposition of their interests

through actions to which they were not parties. The issues in this action can be decided by means

of common, class-wide proof. In addition, if appropriate, the Court can, and is empowered to,

fashion methods to efficiently manage this action as a class action.

       68.     Defendant has violated the WWPCL regarding payment of regular wages and

overtime wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

       69.     There are questions of fact and law common to the Wisconsin Class that

predominate over any questions affecting only individual members. The questions of law and fact

common to the Wisconsin Class arising from Defendant’s actions include, without limitation, the

following: (1) Whether the work performed by Plaintiff and the Wisconsin Class is compensable

under federal law and/or Wisconsin law; (2) Whether Defendant engaged in a pattern or practice

of forcing, coercing, deceiving and/or permitting Plaintiff and the Wisconsin Class to perform

work for Defendant’s benefit without being properly compensated; (3) Whether Defendant failed

to include all forms of non-discretionary compensation in Plaintiff’s and the Wisconsin Class’

regular rate of pay for overtime purposes; and (4) The nature and extent of class-wide injury and

the measure of damages for the injury.




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       70.     The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.

                                FIRST CLAIM FOR RELIEF
   Violations of the FLSA – Unpaid Overtime Wages (Non-Discretionary Compensation)
                   (Plaintiff on behalf of herself and the FLSA Collective)

       71.     Plaintiff, on behalf of herself and the FLSA Collective, reasserts and incorporates

by reference all paragraphs set forth above as if restated herein.

       72.     At all times material herein, Plaintiff and the FLSA Collective have been entitled

to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       73.     At all times material herein, Defendant was an employer of Plaintiff and the FLSA

Collective as provided under the FLSA.

       74.     At all times material herein, Plaintiff and the FLSA Collective were employees of

Defendant as provided under the FLSA.

       75.     Plaintiff and the FLSA Collective are victims of uniform compensation policy and

practice in violation of the FLSA.

       76.     Defendant violated the FLSA by failing to account for and compensate Plaintiff

and the FLSA Collective for overtime premium pay at the proper and correct overtime rate of pay

for each hour worked in excess of forty (40) hours each workweek by failing to include all forms

of non-discretionary compensation in the FLSA Collective’s regular rates of pay for overtime

calculation purposes.

       77.     The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods for




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commerce, or employed in an enterprise engaged in commerce or in the production of goods for

commerce. 29 U.S.C. § 207(a)(1).

       78.     Defendant was (and is) subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. § 203(b).

       79.     Defendant’s failure to properly compensate Plaintiff and the FLSA Collective and

failure to properly include all forms of non-discretionary compensation in the regular rate of pay

for overtime calculations purposes was willfully perpetrated. Defendant also has not acted in good

faith and with reasonable grounds to believe its actions and omissions were not a violation of the

FLSA, and as a result thereof, Plaintiff and the FLSA Collective are entitled to recover an award

of liquidated damages in an amount equal to the amount of unpaid overtime premium pay

described above pursuant to Section 216(b) of the FLSA, 29 U.S.C. § 216(b). Alternatively, should

the Court find that Defendant acted in good faith or with reasonable grounds in failing to pay

overtime premium pay wages, Plaintiff and the FLSA Collective are entitled to an award of pre-

judgment interest at the applicable legal rate.

       80.     As a result of the aforesaid willful violations of the FLSA’s provisions, overtime

compensation has been unlawfully withheld by Defendant from Plaintiff and the FLSA Collective

for which Defendant is liable pursuant to 29 U.S.C. § 216(b).

       81.     Plaintiff and the FLSA Collective are entitled to damages equal to the mandated

overtime premium pay within the three (3) years preceding the date of filing of this Complaint,

plus periods of equitable tolling because Defendant acted willfully and knew or showed reckless

disregard of whether its conduct was prohibited by the FLSA.




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       82.     Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action for

unpaid wages and overtime wages.

                                SECOND CLAIM FOR RELIEF
 Violations of the WWPCL – Unpaid Overtime Wages (Non-Discretionary Compensation)
                   (Plaintiff, on behalf of herself and the Wisconsin Class)

       83.     Plaintiff, on behalf of herself and the Wisconsin Class, reasserts and incorporates

all previous paragraphs as if they were set forth herein.

       84.     At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. §§ 109.01(1r), 103.001(5), and 104.01(2)(a).

       85.     At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. §§ 109.01(2), 103.001(6), and 104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       86.     At all relevant times, Defendant employed, and continue to employ, Plaintiff and

the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq., 104.01 et

seq., and Wis. Admin. Code § DWD 272.01.

       87.     Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of their principal

activities without receiving compensation for these activities.

       88.     At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class overtime compensation.

       89.     Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a workweek in violation




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of Wisconsin Wage Payment Laws by failing to include all forms of non-discretionary

compensation in the Wisconsin Class’ regular rates of pay for overtime calculation purposes.

       90.      The foregoing conduct, as alleged above, constitutes continuing, willful violations

of the Wisconsin Wage Payment and Collection Laws.

       91.      As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly, Plaintiff

and the Wisconsin Class seek damages in the amount of their respective unpaid compensation,

injunctive relief requiring Defendant to cease and desist from its violations of the Wisconsin laws

described herein and to comply with them, and such other legal and equitable relief as the Court

deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin Class may be entitled

to liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       92.      Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

       WHEREFORE, it is respectfully prayed that this Court grant the following relief:

             a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
                supervised Notice, to all similarly-situated current and former hourly-paid, non-
                exempt employees who worked at and/or were employed by Defendant informing
                them of this action and their rights to participate in this action. Such Notice shall
                inform all similarly-situated current and qualified former employees of the
                pendency of this action, the nature of this action, and of their right to “opt in” to
                this action. Additionally, such notice will include a statement informing the
                similarly-situated current and qualified former employees that it is illegal for
                Defendant to take any actions in retaliation of their consent to join this action;

             b) At the earliest possible time, issue an Order certifying this action as a class action
                pursuant to Federal Rules of Civil Procedure 23;

             c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC as
                class counsel pursuant to Federal Rules of Civil Procedure 23;




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          d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202,
             declaring Defendant’s actions as described in the Complaint as unlawful and in
             violation of the FLSA and Wisconsin Law and applicable regulations and as willful
             as defined in the FLSA and Wisconsin Law;

          e) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees damages in the form of
             reimbursement for unpaid overtime wages and/or regular wages for all time spent
             performing compensable work for which they were not paid pursuant to the rate
             provided by the FLSA and WWPCL;

          f) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
             similarly-situated hourly-paid, non-exempt employees liquidated damages
             pursuant to the FLSA and WWPCL in an amount equal to, and in addition to the
             amount of wages and overtime wages owed to them;

          g) Issue an Order directing Defendant to reimburse Plaintiff and all other similarly-
             situated hourly-paid, non-exempt employees for the costs and attorneys’ fees
             expended in the course of litigating this action, pre-judgment and post-judgment
             interest; and

          h) Provide Plaintiff and all other similarly-situated hourly-paid, non-exempt
             employees with other relief that the Court deems just and equitable.

             PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

             Dated this 14th day of October, 2022

                                                    WALCHESKE & LUZI, LLC
                                                    Counsel for Plaintiff

                                                    s/ Scott S. Luzi                     .




                                                    James A. Walcheske, State Bar No. 1065635
                                                    Scott S. Luzi, State Bar No. 1067405
                                                    David M. Potteiger, State Bar No. 1067009
WALCHESKE & LUZI, LLC
235 N. Executive Drive, Suite 240
Brookfield, Wisconsin 53005
Telephone: (262) 780-1953
Fax: (262) 565-6469
E-Mail: jwalcheske@walcheskeluzi.com
E-Mail: sluzi@walcheskeluzi.com
E-Mail: dpotteiger@walcheskeluzi.com




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